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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
Judge Walker D. Miller
Civil Action No. 08-cv-00387-WDM-KMT
DENNIS O’NEIL,
Applicant,

Vv.

MONTE GORE, Captain Park County Jail, State of Colorado, and
JOHN SOUTHERS’, Attorney General of the State of Colorado, -

Respondents.

 

ORDER ON MOTION TO DISMISS

 

Miller, J.

This matter is before me on the Motion to Dismiss (doc no 11) filed by Respondent
John Suthers, Attorney General of the State of Colorado (“Attorney General”). Applicant
Dennis O'Neil opposes the motion. Respondent Monte Gore ("Captain Gore”) has not
responded to the motion. For the reasons set forth below, I will deny the motion but instruct
Applicant to file an amended petition if necessary.

Applicant has filed a petition for writ of habeas corpus pursuant to 28 U.S.C. § 2254
naming as custodians the Attorney General and Captain Gore. Applicant challenges his
misdemeanor conviction for driving while impaired. The judgment against Applicant was
entered in the County Court, Park County, Colorado on January 22, 2008. According to
Applicant, the judgment has been stayed pending exhaustion of Applicant's appeals and

this petition. The Attorney General contends that he is not a proper respondent because

 

‘The Attorney General’s name is correctly spelled “John Suthers.”
 

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Applicant is notin the Attorney General’s custody. See 28 U.S.C. § 2242) (application for
writ of habeas corpus shall name the person who has custody over petitioner}. The
Attorney General does not dispute that Applicant is “in custody” for the purposes of habeas
corpus but contends that the proper custodian is the County Court of Park County. The
Attorney General argues that jurisdiction is lacking ifa habeas corpus applicant has failed
to name the proper custodian as a party.

| agree with the Attorney General in part. In Hensley v. Municipal Court, the United
States Supreme Court established that a petitioner who was released on his own
recognizance pending execution of a stayed sentence is “in custody” for the purposes of
federal habeas corpus relief. 471 U.S. 345, 351 (1973). | agree with the Attorney General
that the Court in Hens/ey implied that, in such circumstances, the state court who has the
unilateral power to revoke the stay of execution of the sentence is the custodian of the
petitioner. Accordingly, | agree that Applicant's petition should be amended to include the
presiding state court as a respondent, assuming that Applicant’s sentence is still stayed
and he is not incarcerated at this time. In addition, it appears that Captain Gore is nota
proper respondent at this time, since there is no evidence that Applicant is incarcerated in
the Park County Jail.

However, | disagree that the Attorney General should be dismissed from this case
or that! do not have jurisdiction. Pursuant to Rule 2(b) of the rules governing Section 2254
cases, if a petitioner is not yet in custody but may be subject to future custody under a state
court judgment, the petition must name as respondents “both the officer who has current
custody and the attorney general of the state where the judgment was entered.” The
Attorney General is therefore a proper party. Applicant, the Attorney General, and the

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County Court of Park County are all within the jurisdiction of this court and, therefore, the
petition should not be dismissed.”

Accordingly, it is ordered:

1. The Motion to Dismiss (doc no 11) filed by Respondent John Suthers,
Attorney General of the State of Colorado, is denied.

2. If Applicant’s sentence continues to be stayed and he is not incarcerated
pursuant to his conviction, he shall file an amended petition for writ of habeas
corpus within ten days of this order adding as a respondent the County Court
of Park County, Colorado and removing as a respondent Monte Gore.

DATED at Denver, Colorado, on August 5,

  
   

s/ Walker D. Miller
United States District Judge

 

“The Attorney General also argues that the District Attorney of the Eleventh
Judicial District should be named as a respondent. However, the Attorney General
provides no legal authority for this and no analysis under Rule 19. Accordingly, |
decline to order the joinder of the District Attorney at this time.

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